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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0646V
                                          UNPUBLISHED


    SHANNON ALFARO,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: August 9, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Michael Adly Baseluos, Baseluos Law Firm, PLLC, San Antonio, TX, for Petitioner.

Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On May 27, 2020, Shannon Alfaro filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that that she suffered right shoulder injuries related to
vaccine administration (“SIRVA”) as a result of an influenza vaccine received on or about
October 4, 2017. Petition at 1. Petitioner further alleges the vaccine was administered in
the United States, she suffered residual effects of her injury for more than six months,
and she has never received compensation in the form of an award or settlement for her
vaccine-related injuries, nor has she filed a civil action for her injuries prior to this petition.
Petition at 1-5; Ex. 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.



1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        On January 21, 2022, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for SIRVA. On August 9, 2022, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $145,247.90. Proffer at
2. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.
Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $145,247.90 (comprised of $140,000.00 for pain and suffering and
$5,247.90 for past and future unreimbursable expenses) in the form of a check
payable to Petitioner. This amount represents compensation for all damages that would
be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                   OFFICE OF SPECIAL MASTERS
____________________________________
                                    )
SHANNON ALFARO,                     )
                                    )
            Petitioner,             )
                                    )
      v.                            )                No. 20-646V (ECF)
                                    )                Chief Special Master Brian H. Corcoran
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
                                    )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

      On January 20, 2022, respondent conceded that entitlement to compensation was

appropriate under the terms of the Vaccine Act. ECF No. 40. On January 21, 2022, Chief

Special Master Corcoran issued a Ruling on Entitlement, finding that petitioner was entitled to

vaccine compensation for her Shoulder Injury Related to Vaccine Administration (“SIRVA”)

and related sequela. ECF No. 41.

I.    Amount of Compensation

       A. Pain and Suffering

       Respondent now proffers that, based on the Chief Special Master’s entitlement decision

and the evidence of record, petitioner should be awarded $140,000.00 for pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       B. Past and Future Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past and will reasonably

incur future unreimbursable expenses related to her vaccine-related injury. Respondent proffers
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that petitioner should be awarded past and future unreimbursable expenses in the amount of

$5,247.90. See 42 U.S.C. §§ 300aa-15(a)(1)(A),(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made as

described below, and requests that the Chief Special Master’s damages decision and the Court’s

judgment award the following: 1

       A. A lump sum of $145,247.90, in the form of a check payable to petitioner. This
          amount represents compensation for all damages that would be available under 42
          U.S.C. § 300aa-15(a). Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             HEATHER L. PEARLMAN
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             TRACI R. PATTON
                                             Assistant Director
                                             Torts Branch, Civil Division




1Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.
                                                2
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                                   /s/ Kyle E. Pozza_____________
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Dated: August 9, 2022




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